       Case 5:19-cv-01447-MWF Document 7 Filed 08/08/19 Page 1 of 2 Page ID #:47


 NAME,ADDRESS. AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER

 Barry S. Glaser, Esq.
 Lamb and Kawakami
 333 S. Grand Avenue, Suite 4200
 Los Angeles, CA 90071
 (213)630-5515-Telephone
 (213)630-5555 - Facsimile



 ATTORNEY(S)FOR: San Bernardino County Treasurer - Tax
                                           UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA

BRIGITTE LYN LAMONTE(APPELLANT)                                           CASE NUMBER:

                                                                          5:19-cv-01447 MWF (District Court)
                                                                          6:19-bk-14124-WJ (Bankruptcy Court)
                                                         PIaintifF(s),
                                    V.


ROD DANIELSON (APPELLEE)                                                                        AMENDED
                                                                                         CERTIFICATION AND NOTICE
                                                                                           OF INTERESTED PARTIES
                                                        Defendant(s)                          (Local Rule 7.1-1)


TO:     THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                             San Bernardino County Treasurer - Tax Collector
or party appearing in pro per, certifies that the following listed party(or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.

           (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                           PARTY                                                CONNECTION / INTEREST
San Bernardino County Treasurer - Tax                                    Defendant
BRIGITTE LYN LAMONTE                                                     Debtor and Appellant in the case.
ROD DANIELSON                                                            Appellee in the case.




        8/7/2019                                      /s/ Barry S. Glaser
         Date                                         Signature



                                                      Attorney of record for (or name of party appearing in pro per):

                                                      San Bernardino County Treasurer - Tax Collector


CV-30(05/13)                                       NOTICE OF INTERESTED PARTIES
         Case 5:19-cv-01447-MWF Document 7 Filed 08/08/19 Page 2 of 2 Page ID #:48




                                         PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
333 S. Grand Avenue, Suite 4200, Los Angeles, OA 90071

A true and correct copy of the foregoing document entitled (specify): Amended Certification and Notice of Interested
Parties


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
                   , I checked the CM/EOF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                      I I Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 08/Q8/2Q19            I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
  Anyama Law Firm, A Professional Corp            Rod Danielson (TR)                  United States Trustee(RS)
  18000 Studebaker Road, Suite 325                        3787 University Avenue                      3801 University Avenue, Suite 720
  Cerritos, CA 90703                                      Riverside, CA 92501                          Riverside, CA 92501-3200

                                                                                      I I Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entitv servedl: Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                                              , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                      I I Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

08/08/2019         Kristina Simonian                                                          /s/ Kristina Simonian
 Date                         Printed Name                                                     Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of Califomia.

June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
